IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION

DICENTRAL CORPORATION ,
Plaintiff,

CABORCA LEATHER, LLC,

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§
§
VS. § CIVIL ACTION 4:16-CV-02727
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§
§
Defendant. §

ORDER
On this day came to be heard Plaintiffs Emergency Unopposed Motion To
Extend the Docket Date to February 19, 2018 Regarding
Plaintiff’s Motion toReinstate Case. After considering the pleadings, the motion
and the arguments of counsel, the Court is of the opinion that the motion is well founded and
that there is good cause to grant the motion. It is therefore,
ORDERED, ADJUDGED AND DECREED that the Docket Date is hereby

extended to February 19, 2018.

Signed this (th day of. belo , 2018.

 

 
